Case 1:23-cr-00433-EK Document 7 Filed 11/03/23 Page 1 of 1 PagelD #: 43

MINUTE ENTRY FOR CRIMINAL PROCEEDING

BEFORE MAG. JUDGE Lois Bloom DATE: _ 11/3/23
DOCKET NUMBER: _23CR433(EK) LoG#: 2:36- 3:38
DEFENDANT'S NAME : Thomas Smith ys
Present ___ Not Present Custody Bail
DEFENSE COUNSEL: _~ _ et® Dahl bere
Vv Federal Defender CJA Retained
Drew Rolle le, Ee .

A.U.S.A: Matthew Galeotti Sohn Enright CLERK: _ Felix Chin
INTERPRETER: (Language)
Defendant arraigned on the: J indictment ____ superseding indictment ____ probation violation

Defendant pleads NOT GUILTY to ALL counts.

DETENTION HEARING Held. J Defendant’s first appearance.

J Bond setat 00, 000 . Defendant Zo released _ held pending

Defendant advised of bond conditions set by the Court and signed the bond.

# satisfaction of bond conditions.
3 Surety (ies) sworn, advised of bond obligations by the Court and signed the bond.

(Additional) surety/ies to co-sign bond by

Afier hearing, Court orders detention in custody. Leave to reopen granted

Temporary Order of Detention Issued. Bail Hearing set for

At this time, defense counsel states on the record that the defendant does not have a bail
application / package. Order of detention entered with leave to reapply to a Magistrate
or to the District Court Judge to whom the case will be assigned.

Order of Excludable Delay/Speedy Trial entered. Start_lI/ 3/23 Stop ire] 23

Vv Rule 5f warnings given to the govt. Medical memo issued.
Defendant failed to appear, bench warrant issued.

J Status conference set for r[/23 @ (2-00 before Judge Komitee

Other Rulings: Dose Covnsy| + govt Agree on 4 baca with 3 swefies,

Govt Avaved foro J [ milli benil Cow sef bond @ ff 500 0090,

